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                                EXHIBIT 20
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John Y. Bonds, III                              Deborah Deitsch-Perez
State Bar No. 02589100                          State Bar No. 24036072
Clay M. Taylor                                  Michael P. Aigen
State Bar No. 24033261                          State Bar No. 24012196
Bryan C. Assink                                 STINSON LLP
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ATTORNEYS
ATIOR 'EYS FOR DEFENDA
               DEFENDANT
                       'T JAMES DONDERO


                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

In re:                            §                                  Case No. 19-34054
                                  §
HIGHLAND CAPITAL MANAGEMENT, L.P. §                                  Chapter 11
                                  §
    Debtor.                       §

                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                   §
         Plaintiff.                                §
v.                                                 §                 Adversary No. 21-03003-sgj
                                                   §
JAMES D. DONDERO,                                  §
                                                   §
         Defendant.                                §

            DEFENDANT JAMES DONDERO'S OBJECTIONS AND ANSWERS
                      TO HIGHLAND CAPITAL MANAGEMENT, L.P.'S
                          SECOND SET OF INTERROGATORIES

TO:      Highland Capital Management, L.P., by and through its attorneys of record, Zachery Z.
         Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, Texas 75231.

         Defendant James Dondero ("Defendant" or "Dondero") serves his Objections and Answers

to Debtor Highland Capital Management, L.P.'s
                                       L.P. 's ("Debtor" or "Highland") Second Set of

Interrogatories ("Requests"), as follows:




DEFENDANT
DEFE~DANT JAMES DONDERO'S OBJECTIONS AND ANSWERS TO HIGHLAND CAPITAL MANAGEMENT, L.P.'S
SECOND SET OF INTERROGATORIES
                 I. TERROGATORIES                                          PAGE 1 OF 66
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Dated: May 7, 2021                        Respectfully submitted,

                                         /Deborah Deitsch-Perez
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                                         State Bar I.D. No. 24033261
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                                          -and-

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                                          ATTORNEYS FOR DEFENDANT JAMES DONDERO
                                                                        DON DERO




DEFENDANT                                ANSWERS TO
DEFENDA T JAMES DONDERO'S OBJECTIONS AND Ar'\SWERS TO HIGHLAND CAPITAL MANAGEMENT, LL.P.'S
                                                                                     .P . 'S
SECOND SET OFOF INTERROGATORIES                                              PAGE 22 OF 6  6
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                                    CERTIFICATE
                                    CERTIFICATE OF
                                                OFSERVICE
                                                   SERVICE

        I,I, the
              the undersigned,
                  undersigned, hereby
                                hereby certify
                                         certify that,
                                                  that, on
                                                        on May
                                                           May 7,     2021, aa true
                                                                   7, 2021,     true and
                                                                                      and correct copy of
                                                                                          correct copy of the
                                                                                                           the
foregoing
 foregoing document
               documentwas
                         was served
                              served via
                                     viaemail
                                          email on
                                                 oncounsel
                                                     counsel for
                                                              for the
                                                                   the Debtor.
                                                                       Debtor.


                                                          /s/
                                                           Isl Michael
                                                               Michael P.
                                                                       P. Aigen
                                                                          Aigen
                                                          Michael
                                                           Michael P.
                                                                    P.Aigen
                                                                       Aigen




                                         A 'SWERS TO HIGHLAND CAPITAL MANAGEMENT,
DEFENDA T JAMES DONDERO'S OBJECTIONS AND ANSWERS
DEFENDANT                                                                         L.P.'s
                                                                      MANAGEMENT, L.P.'S
SECOND SET OF INTERROGATORIES                                               PAGE 3 OF 6
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                                       OBJECTIONS AND ANSWERS'
                                                      ANSWERS1

INTERROGATORY NO. 1: Identify the "conditions subsequent" referred to in paragraph 40 of
the Amended Answer.

ANSWER:

        The conditions subsequent referred to in paragraph 40 of the Amended Answer refer to the
disposition of the portfolio company interests managed and/or owned, directly or indirectly, by
Highland and/or its affiliates or managed funds on a favorable basis or on a basis wholly outside
Dondero's control.

INTERROGATORY NO. 2: With respect to each Note, identify:

         (a) the person who provided legal advice to James Dondero in
                                                                   m connection with the

negotiation, drafting, and execution of each Note, if any;

         (b) the person who provided legal advice to the Debtor in connection with the negotiation,

drafting, and execution of each Note, if any; and

         (c) the person who drafted each Note.
         (c)

ANSWER:

       Dondero objects to this interrogatory to the extent that it seeks privileged information.
Subject to this objection, Dondero responds as follows:
                                               follows:

        Dondero does not know who specifically drafted the Notes, however, he believes they were
drafted by an individual in either the Highland legal or finance department.

        INTERROGATORY NO. 3: Identify the "mutual obligation"obligation" referred to in paragraph 41
                                                                                                  41
of the Amended Answer, including (a) the date the mutual obligation was incurred, (b) any
documents referring to or reflecting the mutual obligation, (c) the amount of the mutual obligation,
(d) any demands made by James Dondero to the Debtor for payment on the mutual obligation.




11 Defendant makes these responses subject in all respects to his Motion for Withdrawal of the Reference [Adv. Dkt.
      2 1) and the Motion to Stay Pending the Motion to Withdraw the Reference of Plaintiffs
No. 21]                                                                                   Plaintiff's Complaint [Adv. Dkt.
      22) filed on April 15, 2021. For the reasons stated in the motions, Defendant believes that the reference should be
No. 22]
withdrawn and this proceeding stayed whilewhi le the motion to withdraw the reference is considered. Defendant does not
waive, but instead hereby preserves, his right to a jury trial and all rights and requests for relief asserted in the motions.
Defendant does not consent to the Bankruptcy Court determining this proceeding or entering final    final orders or judgments
 in this proceeding. Defendant requests that the reference be withdrawn and that the District Court adjudicate this
   roceedino.
proceeding.
DEFENDANT JAMES DONDERO'S OBJECTIONS AND ANSWERS TO HIGHLAND CAPITAL MANAGEMENT, L.P.'S
 SECOND SET OF INTERROGATORIES                                                                                 PAGE 4  4 OF 66
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ANSWER:

        Defendant is not pursuing in this action the mutual obligation referred to in paragraph 41
of the Amended Answer, which refers to potential contribution and/or indemnity claims that are
largely unliquidated and contingent, and which Dondero cannot identify until all potential claims
are resolved.

INTERROGATORY NO. 4: Identify every person James Dondero believes has personal
knowledge of the alleged mutual obligation referred to in paragraph 41 of the Amended Answer.

ANSWER:

       James Dondero

       Frank Waterhouse

       Mark Okada

       John Honis

       Scott Ellington

INTERROGATORY NO. 5:           S: Identify the "debt" referred to in paragraph 41 of the Amended
Answer, including (a) the date the debt was incurred, (b) any documents referring to or reflecting
the debt, (c)
          ( c) the amount of the mutual obligation, (d)
                                                    (d) any demands made by James Dondero to the
Debtor for payment on the debt.

ANSWER:

       See Response to Interrogatory No. 3.

INTERROGATORY NO. 6: Identify every person James Dondero believes has personal
knowledge of the alleged debt referred to in paragraph 41 of the Amended Answer.

ANSWER:

       See Response to Interrogatory No. 3.

INTERROGATORY NO. 7: Identify each provision of each Note that James Dondero contends
is ambiguous.


ANSWER:

      Dondero contends that each Note as a whole is ambiguous because it refers to additional
agreements without specifying them.




                                                                                       L.P.'s
                      DONDERO'S OBJECTIONS AND ANSWERS TO HIGHLAND CAPITAL MANAGEMENT, L.P.'S
DEFENDANT JAMES OONDERO'S
SECOND SET OF INTERROGATORIES                                                         5 OF 6
                                                                                 PAGE 5
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                                       VERIFICATION

STATE OF TEXAS               )
                             )
COUNTY OF DALLAS             )

        On this day, James D. Dondero appeared before me, the undersigned notary public, and

upon his oath, certified that he had read Defendant's Objections and Answers to Highland Capital

Management, L.P.'s Second Set of
                              of Interrogatories and that the facts stated therein are within his

personal knowledge and are true and correct.




                                                      JAMES D. DONDERO



        SWORN TO and SUBSCRIBED before me by James D. Dondero on the 7th day of May,
2021.




                                               Notary Public in and for the State of Texas




DEFENDANT JAMES DONDERO'S                                                              L.P.'s
                      DO~DERO'S OBJECTIONS AND ANSWERS TO HIGHLAND CAPITAL MANAGEMENT, L . P.'S
SECOND SET OF INTERROGATORIES                                                    PAGE 6 OF 6
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